                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    BITCO GENERAL INSURANCE            )
    CORPORATION, in its own right      )
    and as assignee of CLARENCE I.     )
    STACK, INC.,                       )
                                       )         1:24CV657
                     Plaintiff.        )
                                       )
              v.                       )
                                       )
    SAS RETAIL SERVICES, LLC,          )
                                       )
                     Defendant.        )

                       MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.
        This case involves a claim for indemnity for a settlement of

a personal injury lawsuit.          Before the court is the motion of

Defendant SAS Retail Services, LLC (“SAS”) to dismiss Count I of

the complaint, alleging contractual indemnity, for failure to

state a claim.        (Doc. 14.)     Plaintiff BITCO General Insurance

Corporation (“BITCO”), as insurer for Plaintiff Clarence I. Stack,

Inc., filed a response in opposition (Doc. 33), to which SAS has

replied.      (Doc. 35.)    The court granted BITCO leave to file a

surreply, which the court has also considered.              (Doc. 39.)      For

the following reasons, SAS’s motion will be denied.

I.      BACKGROUND

        The factual allegations of the well-pleaded complaint,1 which


1 The court also considers documents attached to the complaint, which
are incorporated into it, as their authenticity is not challenged.




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are accepted as true for purposes of the motion to dismiss and are

viewed in the light most favorable to BITCO, show the following.

      SAS is “a service partner for retailers and retail suppliers”

incorporated in Delaware with its principal place of business in

California.    (Doc. 7 ¶ 3.)     BITCO is an insurance corporation that

is headquartered and incorporated in Iowa.         (Id. ¶ 1; Doc. 24 ¶ 4.)

      In 2018, SAS, as an authorized agent of Giant of Maryland,

LLC (“Giant”), a grocery store chain, entered into a “Consulting

and   Services    Agreement”     (“Agreement”)     with    Retail     Business

Services, LLC (“RBS”).      (Doc. 7 ¶ 5.)      The Agreement required SAS

to perform certain remodeling work of a Giant facility.             (Id.) RBS

engaged Stack to work on the remodeling project.           (Id. ¶ 6.)     BITCO

is Stack’s insurer.     (Id. at 1.)       Neither Stack nor RBS is a party

to this action.       Stack did not sign the Agreement, and BITCO

concedes that Stack is not a party to it.            (Id. ¶ 5; Doc. 39 at

3.)

      The   Agreement   contained     an    indemnification      clause    that

provided in relevant part as follows:

      Service Provider [SAS] shall indemnify, defend and hold
      harmless each Customer Company [RBS],2 and their
      respective   current,   future   and  former   officers,
      directors,    managers,    employees,   representatives,
      agents, contractors, successors and permitted assigns
      (collectively, the “Customer Indemnitees”) from and

Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 165-66 (4th Cir. 2016)
(citations omitted).

2 The Agreement defines the “Service Provider” as SAS and the “Customer”
as RBS. (Doc. 7 at 10.)

                                      2



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     against any and all losses, liabilities, penalties,
     fines, expenses, damages, judgments, settlements, and
     other costs . . . incurred by Customer Indemnitees as a
     result of any third-party claim (“Damages”), and defend
     the Customer Indemnitees against all third party claims,
     suits, proceedings and actions (“Claims”), which arise
     out of or relate to: (i) any action or omission or
     negligence or willful misconduct by Service Provider or
     any Personnel . . . (vii) all Claims by Service Provider
     Personnel arising out of or relating to Service
     Provider’s performance under the agreement . . . .

(Doc. 7 at 14–15.)     BITCO alleges that SAS agreed to indemnify

Stack, which BITCO asserts was a “contractor” of RBS.              (Id. ¶ 9.)

     During the construction project, Linda Ellis-Bland, a SAS

employee, was injured “when a stack of dollies fell onto her” and,

on June 23, 2022, sued Stack for personal injuries.                (Id. ¶ 7.)

BITCO defended Stack in the lawsuit and asserted that Stack was

entitled to indemnification from SAS.            (Id. ¶¶ 13–18.)         BITCO

repeatedly demanded that SAS defend and indemnify it, but SAS never

responded.   (Id.)    BITCO did receive, however, a letter from a

claims administrator it believes was acting as a representative

for Hartford Fire Insurance company, which BITCO claims is SAS’s

insurer, denying that SAS owed Stack any indemnity.              (Id. ¶ 16.)

BITCO eventually settled Ellis-Bland’s claims for $950,000.               (Id.

¶ 19.)

     BITCO filed this action in the General Court of Justice,

Superior   Court   Division    in   Guilford   County,     North    Carolina,

seeking reimbursement for the cost of defending Stack in the

underlying action and indemnity of the $950,000 settlement payment

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to resolve Ellis-Bland’s claims.           (Doc. 7 ¶ 25.)         BITCO asserts

claims    for   contractual   indemnification      (Count    I),       common   law

indemnification (Count II), statutory contribution (Count III),

and common law contribution in its own right and on Stack’s behalf

(Count IV).     (Id. ¶¶ 26–37.)    SAS removed the action to this court

(Doc. 1) and filed the instant partial motion to dismiss Count I

seeking contractual indemnification.            (Doc. 15 at 1; Doc. 7 ¶ 26–

30.)

II.    ANALYSIS

       “To survive a motion to dismiss, a complaint must contain

sufficient factual matter . . .           to ‘state a claim to relief that

is plausible on its face.’”        Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)).    A claim is plausible “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id.

(citing Twombly, 550 U.S. at 556).              A Rule 12(b)(6) motion to

dismiss     “challenges   the     legal     sufficiency     of     a    complaint

considered with the assumption that the facts alleged are true.”

Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009) (citations

omitted).

       SAS argues that BITCO’s contractual indemnification claim

should be dismissed for three main reasons: (1) BITCO and Stack

may not enforce the Agreement, (2) even if Stack can enforce the

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Agreement, BITCO may not do so because the Agreement prohibits

Stack’s assignment of its claim to it, and (3) the Agreement’s

indemnification clause is invalid under New York law.                    (Docs. 15,

35.)        BITCO    responds   that    Stack   can   sue   as     a    third-party

beneficiary of the Agreement, that the Agreement’s assignment

prohibition does not bar BITCO’s effort to seek subrogation, and

that the New York statute that SAS relies on is inapplicable to

the indemnification clause.            (Docs. 33, 39.)      Each contention is

addressed in turn.

       A.     Ability of Stack and BITCO to Enforce the Agreement

       SAS argues that neither Stack nor BITCO may seek contractual

indemnification because they are not parties to the Agreement.

(Doc. 15 at 7–9.)          BITCO responds that Stack is a third-party

beneficiary of the Agreement and it may stand in Stack’s shoes to

enforce it.         (Doc. 33 at 10–11.)

       As a threshold matter, the parties dispute which state’s law

applies.      In its opening brief, SAS argued that Maryland, rather

than New York, law controls, but that the ultimate outcome is the

same regardless of which law applies.            (Doc. 15 at 5–11.)           BITCO,

relying on a choice of law provision in the Agreement, argued that

New York law applies.        (Doc. 33 at 3, 7.)       In its reply, SAS stated

that it would “welcome the application of New York law if there

were any basis for its application in this case; however, . . .

there is not.”         (Doc. 35 at 1–2.)        Although SAS contended that

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“[BITCO]’s reading of the indemnity provision . . . to include

Stack’s own negligence would be invalid under both Maryland and

New York law,” SAS almost exclusively cited New York cases in its

reply and invoked a New York statute that it argues “clearly

prohibits” enforcement of the indemnity clause.                  (Id. at 2, 4.)

     Where,   as   here,   the   court       is     exercising        its   diversity

jurisdiction, it applies the choice of law rules of the state in

which it sits.     Volvo Constr. Equip. N.A. v. CLM Equip. Co., 386

F.3d 581, 599–600 (4th Cir. 2004) (citations omitted).                          North

Carolina allows parties to agree that the laws of another state

will govern the interpretation of their agreements.                         N.C. Gen.

Stat. § 25–1–301(a).       A contractual choice-of-law provision is

enforceable   under    North   Carolina       law     if   the   parties      “had    a

reasonable basis for their choice and the law of the chosen State

does not violate a fundamental public policy of the state or

otherwise applicable law.”       Sawyer v. Market Am., Inc., 661 S.E.2d

750, 752 (N.C. Ct. App. 2008) (citation and internal quotation

marks omitted).    There is a strong presumption that the parties’

choice of law agreement will be given effect.                Tanglewood Land Co.

v. Byrd, 261 S.E.2d 655, 656 (N.C. 1980).

     The   Agreement    contains    a       choice    of   law    provision      that

stipulates it shall be interpreted according to New York law.

(Doc. 7 at 17.)     SAS has not argued that the application of New

York law would contradict a fundamental public policy of North

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Carolina or any otherwise applicable law.              To the contrary, it has

stated that it “welcomes” the application of New York law, which

it argues prohibits enforcement of the indemnification clause.

Moreover, the court has not identified any aspect of New York law

that would undermine the fundamental policy of North Carolina.

Accordingly, the court will apply New York law to construe the

Agreement for purposes of this motion.

       New York law requires that “[o]ne who seeks to recover as a

third-party beneficiary of a contract must establish that a valid

and    binding   contract   exists       between   other   parties,     that   the

contract was intended for his or her benefit, and that the benefit

was direct rather than incidental.”              Edge Mgmt. Consulting, Inc.

v.    Blank,   807   N.Y.S.2d     353,   358   (App.   Div.   1st   Dep’t    2006)

(citations omitted).        The parties executing the agreement must

have intended to provide a benefit to the third party; “absent

such intent, the third party is merely an incidental beneficiary

with no right to enforce the particular contracts.”                   Sukhram v.

Forest City Myrtle Assocs., 220 N.Y.S.3d 773, 775 (App. Div. 2d

Dep’t 2024) (quoting Neurological Surgery, P.C. v. Grp. Health

Inc., 204 N.Y.S.3d 565, 568 (App. Div. 2d Dep’t 2024)) (internal

quotation marks omitted).

       BITCO asserts that Stack was a third-party beneficiary of the

Agreement because the Agreement provides that SAS would indemnify

all “contractors” of RBS, and that Stack is such a contractor.

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SAS responds that Stack is not a third-party beneficiary and,

alternatively,        the       indemnification          provision     does     not   apply

because Ellis-Bland’s complaint alleged that Stack was solely

responsible for her injuries and therefore SAS has no obligation

to indemnify Stack for its own negligence.                       (Doc. 15 at 7, 10.)

       At this stage of the proceedings, BITCO has alleged that Stack

was an RBS contractor, that SAS agreed to indemnify each of RBS’s

contractors for losses incurred because of any third-party claim

by    “Personnel”        such    as    Ellis-Bland,         and    that      Ellis-Bland’s

underlying       claim    falls       within       the   scope    of   the    Agreement’s

indemnification provision.              (Doc. 7 ¶¶ 7–12.)           Those allegations,

if     proven,     would        support    BITCO’s         claim       for    contractual

indemnification. See Garcia v. Black Sea Props., LLC, 210 N.Y.S.3d

855, 860 (App. Div. 4th Dep’t 2024) (non-party to agreement was a

third-party beneficiary of its indemnification provision where

clause     required      the     defendant         to    indemnify     the     signatory’s

“customers” for a specified category of claims).                          Moreover, BITCO

has pleaded that Ellis-Bland’s claim arose out of SAS’s performance

under the Agreement (Doc. 7 ¶ 11,) and while the allegations are

somewhat bare, BITCO             has attached to the complaint documents

indicating that RBS claimed that an SAS employee “accidentally

bumped into a stack of wooden dollies, which caused them to fall

off the trailer, striking Ms. Ellis-Bland.”                       (Id. at 222 (internal

quotation marks omitted).)              BITCO also notes that it sued SAS in

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a third-party complaint in Ellis-Bland’s lawsuit before reaching

the mediated settlement.         (Doc. 33 at 15 n.33.)       Thus, BITCO has

plausibly alleged that the indemnification agreement was triggered

when Ellis-Bland filed her complaint.

       SAS argues that Ellis-Bland’s lawsuit alleged that Stack was

solely responsible for her injuries.            (Doc. 15 at 10.)         But as

BITCO notes, Ellis-Bland did not sue SAS, her employer, likely

because of Maryland workers’ compensation bar.              (Doc. 33 at 15-

16.)    Moreover, that a plaintiff alleges sole responsibility for

an accident does not limit a defendant’s right to join other

allegedly responsible actors.         Whether SAS’s conduct in any way

caused Ellis-Bland’s injuries and, if so, to what extent are fact

questions that cannot be resolved at this stage.                 Accord Garcia,

210 N.Y.S.3d at 861 (determining at summary judgment that a party’s

potential    contractual     indemnification      obligation        turned       on

“triable issues of fact” regarding whether a party’s                   acts or

omissions triggered the indemnification provision); Dejesus v.

Downtown Re Holdings LLC, 192 N.Y.S.3d 13, 18 (App. Div. 1st Dep’t

2023)   (stating   that    the    extent   to   which   “[indemnitee]        will

ultimately obtain indemnification from [indemnitor] based upon its

own level of fault is for a jury to decide. Similarly, while

[Indemnitor] is correct that it is not the only party alleged to

be negligent or owe indemnity, that apportionment is also for the

jury to determine”).

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     B.   The Agreement’s Assignment Prohibition

     SAS argues that the Agreement forbids Stack from assigning to

BITCO any rights that he possesses pursuant to it, including one

of indemnification.     (Doc. 15 at 9–10.)       The relevant provision

reads as follows:

     Neither Party may assign the Agreement, or any of its
     rights or obligations thereunder, without the prior
     written consent of the other Party, and any such
     attempted assignment shall be void. Notwithstanding the
     foregoing, either Party may, without obtaining the prior
     written consent of but with notice to the other Party,
     assign any of its rights and obligations under the
     Agreement to an Affiliate or to the surviving
     corporation with or into which a Party may merge or
     consolidate or any entity to which a Party transfers
     all, or substantially all, of its business and assets.
     Notwithstanding the foregoing, this Section 14.1 shall
     not apply to Service Provider’s merger with Advantage
     Solutions Inc. and any follow-on initial public offering
     by the successor-in-interest.

(Doc. 7 at 17.)

     BITCO contends this provision does not apply for several

reasons. First, it argues that the clause only prohibits a “Party”

from assigning its rights under the contract and Stack was not a

party to it.    (Doc. 33 at 11.)        Second, BITCO alleges that the

provision permitted Stack to assign its indemnification claim to

“Affiliates,” and that BITCO qualifies as Stack’s affiliate.            (Id.

at 12.)    Third, BITCO argues that non-assignment clauses are

construed narrowly under New York law and do not forbid                   the

assignment of breach of contract claims.       (Id. at 12–13.)       Fourth,

BITCO argues that its effort to seek subrogation is not barred by

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the provision.      (Id. at 13–14.)      And finally, BITCO argues that in

addition to being an assignor, Stack can assert its own right to

indemnification.        (Id. at 14–15.)

        Starting with the express language of the Agreement, the court

is unpersuaded that BITCO’s second argument is correct.                     BITCO

argues that the Agreement did not define the term “Affiliate,”

(Doc. 33 at 12), but that is untrue.              Exhibit A appended to the

Agreement defines an “Affiliate” as:

             (i) an entity or association that, now or
             hereafter, directly or indirectly, controls, is
             controlled by, or is under common control with,
             Customer and (ii) with respect to Customer, any
             independent supermarkets of wholesalers with whom
             Customer or any of the entities that fall into
             category (i) of this definition have agreements to
             provide      merchandising,      supply      chain,
             administrative and/or technology services. For
             purposes of this definition, the term “control”
             (including the terms controlling, controlled by and
             under common control with) means the possession,
             direct or indirect, of the power to direct or cause
             the direction of the management and policies of a
             person, whether through the ownership of voting
             securities, by contract, or otherwise.

(Doc. 7 at 20.)         BITCO has not pleaded any facts indicating that

it    qualifies    as   an     “Affiliate”   of   Stack   as   defined    in   the

Agreement.

        But the court need not address all of BITCO’s arguments.

Under     New   York    law,    non-assignment     provisions      are   strictly

construed, and non-assignment provisions are typically construed

as personal covenants to refrain from assignment where possible.


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See BSC Assocs., LLC v. Leidos, Inc., 91 F. Supp. 3d 319, 323

(N.D.N.Y. 2015) (citing Pro Cardiaco Pronto Socorro Cardiologica

S.A. v. Trussell, 863 F. Supp. 135, 137 (S.D.N.Y. 1994)).                      Here,

the relevant clause prohibits only “Part[ies]” (defined as RBS and

SAS)     from   assigning   their   rights      and   obligations      under    the

Agreement.      Stack, of course, is not a “Party.”                Therefore, the

non-assignment clause does not operate against Stack to void its

assignment of its contractual indemnification claim to BITCO.

        Even if the non-assignment clause did operate against Stack,

New York law provides that non-assignment clauses do not bar the

assignment of breach of contract claims or claims related to an

insurance contract after the purported loss has already occurred.

See DW Last Call Onshore, LLC v. Fun Eats & Drinks LLC, No. 17-

CV-962, 2018 WL 1470591, at *3 (S.D.N.Y. Mar. 23, 2018) (“Under

New York law . . . no[n-]assignment clauses . . . do not apply to

assignment of claims after loss has occurred unless they say

otherwise.” (citations and internal quotation marks omitted));

Globecon Grp., LLC v. Hartford Fire Ins. Co., 434 F.3d 165, 170

(2d Cir. 2006) (stating that New York law limits the enforceability

of    non-assignment    provisions    in   insurance      contracts      to    only

prohibit transfers made “prior to, but not after, the insured

against loss has occurred”) (citations omitted).               Here, BITCO has

alleged that Stack assigned its indemnification claim to BITCO

after it had already settled Ellis-Bland’s claim.                   Thus, at this

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stage of the proceedings it cannot be said that the Agreement’s

non-assignment    provision    prohibits     BITCO’s    attempt     to   seek

contractual    indemnification,   and   dismissal      on   this   ground     is

unwarranted.

     C.   Validity of the Indemnification Clause under New York
          Law

     Finally, SAS contends that the Agreement’s indemnification

clause is invalid under New York Law.         SAS’s argument relies on

New York General Obligations Law § 5-322.1(1) (McKinney), which

reads in relevant part:

     A covenant, promise, agreement or understanding in, or
     in connection with or collateral to a contract or
     agreement relative to the construction, alteration,
     repair or maintenance of a building, structure,
     appurtenances     and    appliances    including    moving,
     demolition    and     excavating    connected    therewith,
     purporting to indemnify or hold harmless the promisee
     against liability for damage arising out of bodily
     injury to persons or damage to property contributed to,
     caused by or resulting from the negligence of the
     promisee, his agents or employees, or indemnitee,
     whether such negligence be in whole or in part, is
     against public policy and is void and unenforceable;
     provided that this section shall not affect the validity
     of any insurance contract, workers' compensation
     agreement or other agreement issued by an admitted
     insurer. This subdivision shall not preclude a promisee
     requiring indemnification for damages arising out of
     bodily injury to persons or damage to property caused by
     or resulting from the negligence of a party other than
     the promisee, whether or not the promisor is partially
     negligent.

SAS argues that because BITCO pleaded that the Agreement concerned

“a project to remodel the interior of Giant Food Store #0194,” the

Agreement qualifies as an indemnification clause in an “agreement”

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related “to the construction, alteration, repair or maintenance of

a building.”    (Doc. 35 at 5.)      SAS further argues that because the

underlying claim was based “in whole or in part” on Stack’s

negligence,    the      statute     renders     the   indemnity      agreement

unenforceable.    (Id.)    BITCO responds that it “is entitled to take

discovery on the scope of the services SAS was providing under the

agreement at issue to determine” whether the statute applies.

(Doc. 39 at 2–3.)    Moreover, it argues that the statute “prohibits

indemnity to the extent the subject injury was ‘caused by or

resulting from the negligence of the promisee’” and that the

relative fault of the parties is a fact issue the court should not

resolve at this stage.       (Id. at 3–4.)       Lastly, BITCO argues the

statute expressly exempts agreements “requiring indemnification

for damages arising out of bodily injury to persons or damage to

property caused by or resulting from the negligence of a party

other than the promisee, whether or not the promisor is partially

negligent.”    (Id. (internal quotation marks omitted).)            Therefore,

BITCO   argues,   its     allegation    that    SAS   caused     Bland-Ellis’s

injuries moves its contractual indemnification claim beyond the

sweep of the statute.       (Id.)

     At this stage, BITCO is correct that fact questions remain as

to the scope of SAS’s involvement in the remodeling project out of

which Ellis-Bland’s claims against RBS’s contractor, Stack, arose

to determine whether indemnity is barred by the statute.                     See

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Brooks v. Judlau Contracting, Inc., 898 N.E.2d 549, 550 (N.Y. 2008)

(stating that the statute permits even “a partially negligent

general contractor to seek contractual indemnification . . . so

long as the indemnification provision does not purport to indemnify

the   general   contractor     for    its   own   negligence”);      Dejesus       v.

Downtown Re Holdings LLC, 192 N.Y.S.3d 13, 18 (App. Div. 1st Dep’t

2023)   (recognizing    that     an    indemnification        clause    was    not

unenforceable      where       the     clause       contemplated        “partial

indemnification”);     Yang v. City of New York, 173 N.Y.S.3d 36, 43

(App. Div. 2d Dep’t 2022) (“[Indemnitee] is entitled to contractual

indemnification for the portion of damages that is not attributable

to its own negligence.” (citations omitted)).              Accordingly, SAS’s

motion to dismiss BITCO’s claim for contractual indemnification

will be denied.

III. CONCLUSION

      For the reasons stated, therefore,

      IT IS ORDERED that SAS’s partial motion to dismiss (Doc. 14)

is DENIED.

                                         /s/   Thomas D. Schroeder
                                      United States District Judge

March 10, 2025




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